CaSe 1-17-46613-nh| DOC 44 Filed 03/12/18 Entered 03/12/18 15216251

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: CHAPTER 11
Bracha Cab Corp, et al., CASE NO.: 1-17-46613-nh1

Debtoc. W

 

 

 

STATE OF NEW YORK 1
: ss.:

coUN'rY oP KrNGs )

The undersigned, being duly sworn, deposes and says:

1. I am over the age of eighteen, I am not a party in this case or proceeding and I reside at
STATEN ISLAND, NEW YORK.

2. On Ma.rch 12. 2018, I served the Notice and Order Establishing Deadline for Filing
Proofs of Claims upon the persons listed below*, those persons being all persons entitled to
notice pursuant to Federal Rule of Bankruptcy Procedure 4001(a)(1), by mailing a true copy of
same enclosed in a pre-address sealed wrapper with postage affixed in a post box maintained
under the exclusive care and custody of the United States Postal Service in the State of New
York.

/s/
Jasmin Gomez

Sworn to before me this
12"‘ day of March, 2018

/s/
NOTARY PUBLIC

* SEE LIST ATTACHED*

Case 1-17-46613-nh|

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1281 Carroll Street
Brooklyn, NY 11213-4207

Jarub Trans Corp
1281 Carroll Street
Brooklyn, NY 11213-4207

NY Canteen Taxi Corp
1281 Carroll Street
Brooklyn, N'! 11213-4207

NY Stance Taxi Corp
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Brooklyn, NY 11213-4207

Tamar Cab Corp
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Case 1-17-46613-nh|

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